Case 1:00-cr-01248-NGG   Document 770   Filed 09/28/05   Page 1 of 6 PageID #: 2890




                                             /s/
Case 1:00-cr-01248-NGG   Document 770   Filed 09/28/05   Page 2 of 6 PageID #: 2891
Case 1:00-cr-01248-NGG   Document 770   Filed 09/28/05   Page 3 of 6 PageID #: 2892
Case 1:00-cr-01248-NGG   Document 770   Filed 09/28/05   Page 4 of 6 PageID #: 2893
Case 1:00-cr-01248-NGG   Document 770   Filed 09/28/05   Page 5 of 6 PageID #: 2894
Case 1:00-cr-01248-NGG   Document 770   Filed 09/28/05   Page 6 of 6 PageID #: 2895
